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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

Vickie Sliffe                                                 )
                                                              )
        Plaintiff,                                            )
                                                              )        CASE NO.:___________
        vs.                                                   )
                                                              )
Syngenta Crop LLC,                                            )
Syngenta AG                                                   )
                                                              )
        Defendants.                                           )

                                                 COMPLAINT

        Plaintiff Vickie Sliffe, complaining of Defendants SYNGENTA CROP PROTECTION

LLC, SYNGENTA AG, files this Complaint, and would respectfully show as follows:

                                     I. SUMMARY OF THE CASE

         1.      Paraquat is a synthetic chemical compound 1 that since the mid-1960s has been

developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

herbicide products (“paraquat”) developed, registered, formulated, distributed, and sold for use in

the United States, including the State of California.

        2.       Defendants are companies and successors-in-interest to companies that

manufactured, distributed, and sold paraquat for use in California, acted in concert with others who

manufactured, distributed, and sold paraquat for use in California, sold and used paraquat in

California, or owned property in California where paraquat was used.

        3.       Plaintiff 2 brings this suit against Defendants to recover damages for personal injuries

resulting from Plaintiff’s exposure to paraquat over many years in California.


1
  Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA Pesticide
Chemical Code 061602).
2
  Unless otherwise indicated, “Plaintiff” refers to the individual who had direct exposure to Paraquat.


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                                          II. PARTIES

       A.      Plaintiff

       4.      Plaintiff, Vickie Sliffe is a citizen and resident of the State of California who suffers

from Parkinson’s disease (“PD”) caused by exposure to paraquat within the State of California.

       B.      Defendants

       5.      Defendant Syngenta Crop Protection LLC (“SCPLLC”) is a Delaware company

with its principal place of business in Greensboro, North Carolina. SCPLLC is a wholly owned

subsidiary of Defendant Syngenta AG.

       6.      Defendant Syngenta AG (“SAG”) is a foreign corporation with its principal place

of business in Basel, Switzerland.

                             III. JURISDICTION AND VENUE

       7.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1332

because there is complete diversity of the plaintiff and the defendants and the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs.

       8.      Venue is proper in the United States Central District Court for California under 28 U.S.C.

§1391 because Defendants’ conduct business in this District, are subject to jurisdiction in this

district, and have sold, marketed, and/or distributed paraquat within this District at all times

relevant to this suit, because a substantial part of the acts or occurrences giving rise to this suit

occurred within this District.

       9.      Notwithstanding the previous paragraph, this Complaint is filed in the Southern

District of Illinois pursuant to the Court’s Order of June 10, 2021, allowing direct filing of actions.

However, it is not intended as a waiver of any rights relating to Lexecon, venue, or choice of law.

To the contrary, Plaintiffs expressly reserve any Lexecon rights or rights relating to venue or choice



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of law.

                 IV. ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

          A.      Defendants and their predecessors.

                1. Syngenta Crop Protection LLC and Syngenta AG

          10.     In 1926, four British chemical companies merged to create the British company

that then was known as Imperial Chemical Industries Ltd. and ultimately was known as Imperial

Chemical Industries PLC (“ICI”).

          11.     In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary organized

under the laws of the State of Delaware, which at various times was known as Atlas Chemical

Industries Inc., ICI North America Inc., ICI America Inc., and ICI United States Inc., and

ultimately was known as ICI Americas Inc. (collectively “ICI Americas”).

          12.     In or about 1992, ICI merged its pharmaceuticals, agrochemicals, and specialty

chemicals businesses, including the agrochemicals business it had operated at one time through a

wholly owned British subsidiary known as Plant Protection Ltd. and later as a division within ICI,

into a wholly owned British subsidiary known as ICI Bioscience Ltd.

          13.     In 1993, ICI demerged its pharmaceuticals, agrochemicals, and specialty chemicals

businesses, from which it created the Zeneca Group, with the British company Zeneca Group PLC

as its ultimate parent company.

          14.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Bioscience Ltd.

was demerged from ICI and merged into, renamed, or continued its business under the same or

similar ownership and management as Zeneca Ltd., a wholly owned British subsidiary of Zeneca

Group PLC.

          15.     Before ICI’s demerger and creation of the Zeneca Group, ICI had a Central




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Toxicology Laboratory that performed and hired others to perform health and safety studies that

were submitted to the U.S. Department of Agriculture (“USDA”) and the U.S. Environmental

Protection Agency (“EPA”) to secure and maintain the registration of paraquat and other pesticides

for use in the United States.

       16.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI’s Central

Toxicology Laboratory became Zeneca Ltd.’s Central Toxicology Laboratory.

       17.     After ICI’s demerger and creation of the Zeneca Group, Zeneca Ltd.’s Central

Toxicology Laboratory continued to perform and hire others to perform health and safety studies

that were submitted to EPA to secure and maintain the registration of paraquat and other pesticides

for use in the United States.

       18.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Americas was

demerged from ICI and merged into, renamed, or continued its business under the same or similar

ownership and management as Zeneca, Inc. (“Zeneca”), a wholly owned subsidiary of Zeneca

Group PLC organized under the laws of the State of Delaware.

       19.     In 1996, the Swiss pharmaceutical and chemical companies Ciba-Geigy Ltd. and

Sandoz AG merged to create the Novartis Group, with the Swiss company Novartis AG as the

ultimate parent company.

       20.     As a result of the merger that created the Novartis Group, Ciba-Geigy Corporation,

a wholly owned subsidiary of Ciba-Geigy Ltd. organized under the laws of the State of New York,

was merged into or continued its business under the same or similar ownership and management

as Novartis Crop Protection, Inc. (“NCPI”), a wholly owned subsidiary of Novartis AG organized

under the laws of the State of Delaware.

       21.     In 1999, the Swedish pharmaceutical company Astra AB merged with Zeneca

Group PLC to create the British company AstraZeneca PLC, of which Zeneca Ltd. and Zeneca


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were wholly owned subsidiaries.

       22.      In 2000, Novartis AG and AstraZeneca PLC spun off and merged the Novartis

Group’s crop protection and seeds businesses and AstraZeneca’s agrochemicals business to create

the Syngenta Group, a global group of companies focused solely on agribusiness, with Defendant

Syngenta AG (“SAG”) as the ultimate parent company.

       23.      As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd. was merged into, renamed, or continued its business under the same

or similar ownership and management as Syngenta Ltd., a wholly owned British subsidiary of

SAG.

       24.      As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd.’s Central Toxicology Laboratory became Syngenta Ltd.’s Central

Toxicology Laboratory.

       25.      Since the Novartis/AstraZeneca spinoff and merger that created the Syngenta

Group, Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and hire others

to perform health and safety studies for submission to the EPA to secure and maintain the

registration of paraquat and other pesticides for use in the United States.

       26.      As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, NCPI and Zeneca were merged into and renamed, or continued to do their

business under the same or similar ownership and management, as Syngenta Crop Protection, Inc.

(“SCPI”), a wholly owned subsidiary of SAG organized under the laws of the State of Delaware.

        27.     In 2010, SCPI was converted into Defendant Syngenta Crop Protection LLC

(“SCPLLC”), a wholly owned subsidiary of SAG organized and existing under the laws of the State of

Delaware with its principal place of business in Greensboro, North Carolina.

       28.      SAG is a successor in interest to the crop-protection business of its corporate


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predecessor Novartis AG.

       29.    SAG is a successor in interest to the crop-protection business of its corporate

predecessor AstraZeneca PLC.

       30.    SAG is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Group PLC.

       31.    SAG is a successor in interest to the crop-protection business of its corporate

predecessor Imperial Chemical Industries PLC, previously known as Imperial Chemical Industries

Ltd.

       32.    SAG is a successor in interest to the crop-protection business of its corporate

predecessor ICI Bioscience Ltd.

       33.    SAG is a successor in interest to the crop-protection business of its corporate

predecessor Plant Protection Ltd.

       34.    SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor SCPI.

       35.    SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor NCPI.

       36.    SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor Ciba-Geigy Corporation.

       37.    SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Inc.

       38.    SCPLLC is a successor by merger or continuation of business to its corporate

predecessor ICI Americas Inc., previously known as Atlas Chemical Industries Inc., ICI North

America Inc., ICI America Inc., and ICI United States Inc.




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       39.     SCPLLC does substantial business in the State of California, including the

following:

             a. markets, advertises, distributes, sells, and delivers paraquat and other
             pesticides to distributors, dealers, applicators, and farmers in the State of
             California;

             b. secures and maintains the registration of paraquat and other pesticides with
             the EPA and the State of California to enable itself and others to manufacture,
             distribute, sell, and use these products in the State of California; and

             c. performs, hires others to perform, and funds or otherwise sponsors or
             otherwise funds the testing of pesticides in the State of California.

       40.     SAG is a foreign corporation organized and existing under the laws of Switzerland,

with its principal place of business in Basel, Switzerland.

       41.     SAG is a holding company that owns stock or other ownership interests, either

directly or indirectly, in other Syngenta Group companies, including SCPLLC.

       42.     SAG is a management holding company.

       43.     Syngenta Crop Protection AG (“SCPAG”), a Swiss corporation with its principal

place of business in Basel, Switzerland, is one of SAG’s direct, wholly owned subsidiaries.

       44.     SCPAG employs the global operational managers of production, distribution, and

marketing for the Syngenta Group’s Crop Protection (“CP”) and Seeds Divisions.

       45.     The Syngenta Group’s CP and Seeds Divisions are the business units through which

SAG manages its CP and Seeds product lines.

       46.     The Syngenta Group’s CP and Seeds Divisions are not and have never been

corporations or other legal entities.

       47.     SCP AG directly and wholly owns Syngenta International AG (“SIAG”).

       48.     SIAG is the “nerve center” through which SAG manages the entire Syngenta Group.

       49.     SIAG employs the “Heads” of the Syngenta Group’s CP and Seeds Divisions.


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       50.     SIAG also employs the “Heads” and senior staff of various global functions of the

Syngenta Group, including Human Resources, Corporate Affairs, Global Operations, Research and

Development, Legal and Taxes, and Finance.

       51.     Virtually all of the Syngenta Group’s global “Heads” and their senior staff are

housed in the same office space in Basel, Switzerland.

       52.     SAG is the indirect parent of SCPLLC through multiple layers of corporate

ownership:

             a. SAG directly and wholly owns Syngenta Participations AG;

             b. Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

             c. Seeds JV C.V. directly and wholly owns Syngenta Corporation;

             d. Syngenta Corporation directly and wholly owns Syngenta Seeds, LLC;

             e. Syngenta Seeds, LLC directly and wholly owns SCPLLC.

       53.     Before SCPI was converted to SCPLLC, it was incorporated in Delaware, had its

principal place of business in North Carolina, and had its own board of directors.

       54.     SCPI’s sales accounted for more than 47% of the sales for the entire Syngenta

Group in 2019.

       55.     SAG has purposefully organized the Syngenta Group, including SCPLLC, in such

a way as to attempt to evade the authority of courts in jurisdictions in which it does substantial

business.

       56.     Although the formal legal structure of the Syngenta Group is designed to suggest

otherwise, SAG in fact exercises an unusually high degree of control over its country-specific

business units, including SCPLLC, through a “matrix management’’ system of functional reporting

to global “Product Heads” in charge of the Syngenta Group’s unincorporated Crop Protection and




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Seeds Divisions, and to global “Functional Heads” in charge of human resources, corporate affairs,

global operations, research and development, legal and taxes, and finance.

       57.     The lines of authority and control within the Syngenta Group do not follow its

formal legal structure, but instead follow this global “functional” management structure.

       58.     SAG controls the actions of its far-flung subsidiaries, including SCPLLC, through

this global “functional” management structure.

       59.     SAG’s board of directors has established a Syngenta Executive Committee (“SEC”),

which is responsible for the active leadership and the operative management of the Syngenta

Group, including SPLLC.

       60.     The SEC consists of the CEO and various global Heads, which currently are:

             a. The Chief Executive Officer;

             b. Group General Counsel;

             c. The President of Global Crop Protection;

             d. The Chief Financial Officer;

             e. The President of Global Seeds; and

             f. The Head of Human Resources;

       61.     SIAG employs all of the members of the Executive Committee.

       62.     Global Syngenta Group corporate policies require SAG subsidiaries, including

SPLLC, to operate under the direction and control of the SEC and other unincorporated global

management teams.

       63.     SAG’s board of directors meets five to six times a year.

       64.     In contrast, SCPI’s board of directors rarely met, either in person or by telephone,

and met only a handful of times over the last decade before SCPI became SCPLLC.




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       65.     Most, if not all, of the SCPI board’s formal actions, including selecting and

removing SCPI officers, were taken by unanimous written consent pursuant to directions from the

SEC or other Syngenta Group global or regional managers that were delivered via e-mail to SCPI

board members.

       66.     Since SCPI became SCPLLC, decisions that are normally made by the board or

managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta Group global

or regional managers.

       67.     Similarly, Syngenta Seeds, Inc.’s board of directors appointed and removed SCPI

board members at the direction of the SEC or other Syngenta Group global or regional managers.

       68.     Since SCPI became SCPLLC, the appointment and removal of the manager(s) of

SCPLLC continues to be directed by the SEC or other Syngenta Group global or regional managers.

        69.    The management structure of the Syngenta Group’s CP Division, of which

SCPLLC is a part, is not defined by legal, corporate relationships, but by functional reporting

relationships that disregard corporate boundaries.

       70.     Atop the CP Division is the CP Leadership Team (or another body with a different

name but substantially the same composition and functions), which includes the President of

Global Crop Protection, the CP region Heads (including SCPLLC President Vern Hawkins), and

various global corporate function Heads.

       71.     The CP Leadership Team meets bi-monthly to develop strategy for new products,

markets, and operational efficiencies and to monitor performance of the Syngenta Group’s

worldwide CP business.

       72.     Under the CP Leadership Team are regional leadership teams, including the North

America Regional Leadership Team (or another body with a different name but substantially the

same composition and functions), which oversees the Syngenta Croup’s U.S. and Canadian CP

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business (and when previously known as the NAFTA Regional Leadership Team, also oversaw

the Syngenta Group’s Mexican CP business).

       73.      The North America Regional Leadership Team is chaired by SCPLLC’s president

and includes employees of SCPLLC and the Syngenta Group’s Canadian CP company (and when

previously known as the NAFTA Regional Leadership Team, also included employees of the

Syngenta Group’s Mexican CP company).

       74.      The Syngenta Group’s U.S. and Canadian CP companies, including SCPLLC,

report to the North America Regional Leadership Team, which reports the CP Leadership Team,

which reports to the SEC, which reports to SAG’s board of directors.

       75.      Some members of the North America Regional Leadership Team, including some

SCPLLC employees, report or have in the past reported not to their nominal superiors within the

companies that employ them, but directly to the Syngenta Group’s global Heads.

       76.      Syngenta Group global Heads that supervise SCPLLC employees participate and

have in the past participated in the performance reviews of these employees and in setting their

compensation.

       77.      The Syngenta Group’s functional reporting lines have resulted in employees of

companies, including SCPLLC, reporting to officers of remote parent companies, officers of

affiliates with no corporate relationship other than through SAG, or officers of subsidiary

companies.

       78.      SCPLLC performs its functions according to its role in the CP Division structure:

       a.      CP Division development projects are proposed at the global level, ranked
       and funded at the global level after input from functional entities such as the CP
       Leadership Team and the North America Regional Leadership Team, and given
       final approval by the SEC;

       b.     New CP products are developed by certain Syngenta Group companies or
       functional groups that manage and conduct research and development functions for

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       the entire CP Division;

       c.     These products are then tested by other Syngenta Group companies,
       including SCPLLC, under the direction and supervision of the SEC, the CP
       Leadership Team, or other Syngenta Group global managers;

       d.    Syngenta Group companies, including SCPLLC, do not contract with or
       compensate each other for this testing;

       e.     Rather, the cost of such testing is included in the testing companies’
       operating budgets, which are established and approved by the Syngenta Group’s
       global product development managers and the SEC;

       f.      If a product shows promise based on this testing and the potential markets
       for the product, either global or regional leaders (depending on whether the target
       market is global or regional), not individual Syngenta Group companies such as
       SCPLLC, decide whether to sell the product;

       g.      Decisions to sell the product must be approved by the SEC; and

       h.      The products that are sold all bear the same Syngenta trademark and logo.

       79.     SCPLLC is subject to additional oversight and control by Syngenta Group global

managers through a system of “reserved powers” established by SAG and applicable to all

Syngenta Group companies.

       80.     These “reserved powers” require Syngenta Croup companies to seek approval for

certain decisions from higher levels within the Syngenta Group’s functional reporting structure.

       81.     For example, although SAG permits Syngenta Croup companies to handle small

legal matters on their own, under the “reserved powers” system, SAG’s Board of Directors must

approve settlements of certain types of lawsuits against Syngenta Group companies, including

SCPLLC, if their value exceeds an amount specified in the “reserved powers.”

       82.     Similarly, the appointments of senior managers at SCPLLC must be approved by

higher levels than SCPLLC’s own management, board of directors, or even its direct legal owner.

       83.     Although SCPLLC takes the formal action necessary to appoint its own senior




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managers, this formal action is in fact merely the rubber-stamping of decisions that have already

been made by the Syngenta Group’s global management.

       84.     Although SAG subsidiaries, including SCPLLC, pay lip service to legal formalities

that give the appearance of authority to act independently, in practice many of their acts are directed

or pre-approved by the Syngenta Group’s global management.

       85.     SAG and the global management of the Syngenta Group restrict the authority of

SCPLLC to act independently in areas including:

             a. Product development;

             b. Product testing (among other things, SAG and the global management of
             the Syngenta Group require SCPLLC to use Syngenta Ltd.’s Central
             Toxicology Laboratory to design, perform, or oversee product safety testing
             that SCPLLC submits to the EPA in support of the registrations of paraquat
             and other pesticides);
             c. Production;

             d. Marketing;

             e. Sales;

             f. Human resources;

             g. Communications and public affairs;

             h. Corporate structure and ownership;

             i. Asset sales and acquisitions;

             j. Key appointments to boards, committees and management positions;

             k. Compensation packages;

             l. Training for high-level positions; and

             m. Finance (including day-to-day cash management) and tax.

       86.     Under the Syngenta Group’s functional management system, global managers

initiate, and the global Head of Human Resources oversees, international assignments and



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compensation of managers employed by one Syngenta subsidiary to do temporary work for another

Syngenta subsidiary in another country. This international assignment program aims, in part, to

improve Syngenta Group-wide succession planning by developing corporate talent to make

employees fit for higher positions within the global Syngenta Group of companies.

       87.      Under this international assignment program, at the instance of Syngenta Group

global managers, SCPLLC officers and employees have been “seconded” to work at other SAG

subsidiaries, and officers and employees of other Syngenta Group subsidiaries have been

“seconded” to work at SCPLLC.

       88.      The Syngenta Group’s functional management system includes a central global

finance function—known as Syngenta Group Treasury—for the entire Syngenta Group.

       89.      The finances of all Syngenta Group companies are governed by a global treasury

policy that subordinates the financial interests of SAG’s subsidiaries, including SCPLLC, to the

interests of the Syngenta Group as a whole.

       90.      Under the Syngenta Group’s global treasury policy, Syngenta Group Treasury

controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on account, and

lends it to other subsidiaries that need liquidity.

       91.      The Syngenta Group’s global treasury policy does not allow SAG subsidiaries such

as SCPLLC to seek or obtain financing from non-Syngenta entities without the approval of

Syngenta Group Treasury.

        92.     Syngenta Group Treasury also decides whether SCPLLC will issue a dividend or

distribution to its direct parent company, and how much that dividend will be.

       93.      SCPLLC’s board or management approves dividends and distributions mandated

by Syngenta Group Treasury without any meaningful deliberation.




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       94.       SAG, through its agent or alter ego, SCPLLC, does substantial business in the State

of California, in the ways previously alleged as to SCPLLC.

           B.    Paraquat manufacture, distribution, and sale

       95.       ICI, a legacy company of Syngenta, claims to have discovered the herbicidal

properties of paraquat in 1955.

           96.   The leading manufacturer of paraquat is Syngenta, which (as ICI) developed the

active ingredient in paraquat in the early 1960s.

       97.       ICI produced the first commercial paraquat formulation and registered it in England

in 1962.

       98.       Paraquat was marketed in 1962 under the brand name Gramoxone.

       99.       Paraquat first became commercially available for use in the United States in 1964.

       100.      SAG and its corporate predecessors and others with whom they acted in concert

have manufactured, formulated, distributed, and sold paraquat for use in the United States from

about 1964 through the present, and at all relevant times intended or expected their paraquat

products to be distributed and sold in California, where they registered such products with the State

of California to enable them to be lawfully distributed, sold, and used in California, and marketed,

advertised, and promoted them to California distributors, dealers, applicators, and farmers.

       101.      SAC and its corporate predecessors and others with whom they acted in concert

have submitted health and safety and efficacy studies to the USDA and the EPA to support the

registration of paraquat for manufacture, formulation, distribution, and sale for use in the United

States from about 1964 through the present.

       102.      SCPLLC and its corporate predecessors and others with whom they acted in concert

have manufactured, formulated, distributed, and sold paraquat for use in the United States from

about 1971 through the present, and at all relevant times intended or expected their paraquat


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products to be distributed and sold in California, where they registered such products with the State

of California to enable them to be lawfully distributed, sold, and used in California, and marketed,

advertised, and promoted them to California distributors, dealers, applicators, and farmers.

       103.    SCPLLC and its corporate predecessors and others with whom they acted in concert

have submitted health and safety and efficacy studies to the EPA to support the registration of

paraquat for manufacture, formulation, distribution, and sale for use in the U.S. from about 1971

through the present.

       104.    From 2000 to 2007, Plaintiff was repeatedly exposed to and inhaled, ingested, or

absorbed paraquat in the State of California while working on land.

       105.    As a direct result of the Plaintiff’s exposure to paraquat, Plaintiff began suffering

symptoms associated with Parkinson’s Disease and was diagnosed with PD in 2022.

       106.    Before mid-2023, Plaintiff had never read or heard of any articles in newspapers,

scientific journals, or other publications that associated Parkinson’s Disease with paraquat.

       107.    Before mid-2023, Plaintiff had never read or heard of any lawsuit alleging that

paraquat causes Parkinson’s disease.

       108.    At no time when Plaintiff was present as paraquat was being sprayed was he aware

that exposure to paraquat could cause any latent injury, including any neurological injury or

Parkinson’s Disease, or that any precautions were necessary to prevent any latent injury that could

be caused by exposure to paraquat.

       109.    On information and belief, the paraquat to which Plaintiff was exposed was sold

and used in California, and was manufactured, distributed, and on information and belief sold by

one or more of the Defendants and their corporate predecessors and others with whom they acted

in concert intending or expecting that it would be sold and used in California.

       110.    On information and belief, Plaintiff was exposed to paraquat manufactured,


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distributed, and sold at different times as to each Defendant, its corporate predecessors, and others

with whom they acted in concert, and not necessarily throughout the entire period of the Plaintiff’s

exposure as to any particular Defendant, its corporate predecessors, and others with whom they

acted in concert.

        C.     Paraquat use

       111.    Since 1964, paraquat has been used in the United States to kill broadleaf weeds and

grasses before the planting or emergence of more than 100 field, fruit, vegetable, and plantation

crops, to control weeds in orchards, and to desiccate (dry) plants before harvest. At all relevant

times, the use of Defendants’ paraquat for these purposes was intended or directed by or reasonably

foreseeable to, and was known to or foreseen by, Defendants.

       112.    At all relevant times, where paraquat was used, it was commonly used multiple

times per year on the same land, particularly when used to control weeds in orchards or on farms

with multiple crops planted on the same land within a single growing season or year, and such use

was as intended or directed or reasonably foreseeable. The use of Defendants’ paraquat for these

purposes was intended or directed by or reasonably foreseeable to, and was known to or foreseen

by, Defendants.

       113.    At all relevant times, paraquat manufactured, distributed, sold, and sprayed or

caused to be sprayed by Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert was typically sold to end-users in the form of liquid concentrates (and less

commonly in the form of granular solids) designed to be diluted with water before or after loading

it into the tank of a sprayer and applied by spraying it onto target weeds.

       114.    At all relevant times, concentrates containing paraquat manufactured, distributed,

sold, and sprayed or caused to be sprayed by Defendants, Defendants’ corporate predecessors, and




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others with whom they acted in concert typically were formulated with one or more “surfactants”

to increase the ability of the herbicide to stay in contact with the leaf, penetrate the leaf’s waxy

surface, and enter into plant cells, and the accompanying instructions typically told end-users to

add a surfactant or crop oil (which as typically formulated contains a surfactant) before use.

       115.     At all relevant times, paraquat typically was applied with a knapsack sprayer, hand-

held sprayer, aircraft (i.e., crop duster), truck with attached pressurized tank, or tractor-drawn

pressurized tank, and such use was as intended or directed or was reasonably foreseeable.

         D.     Paraquat exposure

        116.    At all relevant times, it was reasonably foreseeable that when paraquat was used in

the manner intended or directed or in a reasonably foreseeable manner, users of paraquat and

persons nearby would be exposed to paraquat while it was being mixed and loaded into the tanks

of sprayers, including as a result of spills, splashes, and leaks.

        117.    At all relevant times, it was reasonably foreseeable that when paraquat was used in

the manner intended or directed or in a reasonably foreseeable manner, persons who sprayed

paraquat or were in or near areas where it was being or recently had been sprayed would be exposed

to paraquat, including as a result of spray drift, the movement of herbicide spray droplets from the

target area to an area where herbicide application was not intended, typically by wind, and as a

result of contact with sprayed plants.

        118.    At all relevant times, it was reasonably foreseeable that when paraquat was used in

the manner intended or directed or in a reasonably foreseeable manner, users of paraquat and

persons nearby would be exposed to paraquat, including as a result of spills, splashes, and leaks,

while equipment used to spray it was being emptied or cleaned or clogged spray nozzles, lines, or

valves were being cleared.

        119.    At all relevant times, it was reasonably foreseeable that paraquat could enter the


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human body via absorption through or penetration of the skin, mucous membranes, and other

epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and conducting

airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage was present.

       120.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via respiration into the lungs, including the deep parts of the lungs where respiration

(gas exchange) occurred.

       121.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via ingestion into the digestive tract of small droplets swallowed after entering the

mouth, nose, or conducting airways.

       122.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

human body via ingestion into the digestive tract could enter the enteric nervous system (the part

of the nervous system that governs the function of the gastrointestinal tract).

       123.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

human body, whether via absorption, respiration, or ingestion, could enter the bloodstream.

       124.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

bloodstream could enter the brain, whether through the blood-brain barrier or parts of the brain not

protected by the blood-brain barrier.

       125.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

nose and nasal passages could enter the brain through the olfactory bulb (a part of the brain

involved in the sense of smell), which is not protected by the blood-brain barrier.

        E.     Parkinson’s disease

       126.    PD is progressive neurodegenerative disorder of the brain that affects primarily the

motor system, the part of the central nervous system that controls movement.

       127.    Scientists who study PD generally agree that fewer than 10% of all PD cases are


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caused by inherited genetic mutations alone, and that more than 90% are caused by a combination

of environmental factors, genetic susceptibility, and the aging process.

               1. Symptoms and treatment

       128.    The characteristic symptoms of PD are its “primary” motor symptoms: resting

tremor (shaking movement when the muscles are relaxed), bradykinesia (slowness in voluntary

movement and reflexes), rigidity (stiffness and resistance to passive movement), and postural

instability (impaired balance).

       129.    PD’s primary motor symptoms often result in “secondary’’ motor symptoms such

as freezing of gait; shrinking handwriting; mask-like expression; slurred, monotonous, quiet voice;

stooped posture; muscle spasms; impaired coordination; difficulty swallowing; and excess saliva

and drooling caused by reduced swallowing movements.

       130.    Non-motor symptoms-such as loss of or altered sense of smell; constipation; low

blood pressure on rising to stand; sleep disturbances; and depression-are present in most cases of

PD, often for years before any of the primary motor symptoms appear.

       131.    There is currently no cure for PD. No treatment will slow, stop, or reverse its

progression, and the treatments most-commonly prescribed for its motor symptoms tend to become

progressively less effective, and to cause unwelcome side effects, the longer they are used.

               2. Pathophysiology

       132.    The selective degeneration and death of dopaminergic neurons (dopamine-

producing nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”) is

one of the primary pathophysiological hallmarks of PD.

       133.    Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).


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        134.    The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

        135.    Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

neurons have died, dopamine production falls below the level the brain requires for proper control

of motor function, resulting in the motor symptoms of PD.

        136.    The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of PD.

        137.    Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

        138.    Scientists who study PD generally agree that oxidative stress is a major factor in—

if not the precipitating cause of—the degeneration and death of dopaminergic neurons in the SNpc

and the accumulation of Lewy bodies in the remaining dopaminergic neurons that are the primary

pathophysiological hallmarks of PD.

         F.     Paraquat’ s toxicity

        139.    Paraquat is highly toxic to both plants and animals.

        140.    Paraquat injures and kills plants by creating oxidative stress that causes or

contributes to cause the degeneration and death of plant cells.

        141.    Paraquat injures and kills humans and other animals by creating oxidative stress

that causes or contributes to cause the degeneration and death of animal cells.

        142.    Paraquat creates oxidative stress in the cells of plants and animals because of “redox

properties” that are inherent in its chemical composition and structure: it is a strong oxidant, and

it readily undergoes “redox cycling” in the presence of molecular oxygen, which is plentiful in

living cells.


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         143.   The redox cycling of paraquat in living cells interferes with cellular functions that

are necessary to sustain life—photosynthesis in the case of plant cells and cellular respiration in

the case of animal cells.

         144.   The redox cycling of paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series of

chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids—molecules that are essential components of the structures and functions of living

cells.

         145.   Because the redox cycling of paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of paraquat can trigger the production of

countless molecules of destructive superoxide radical.

         146.   Paraquat’s redox properties have been known since at least the 1930s.

         147.   That paraquat is toxic to the cells of plants and animals because it creates oxidative

stress through redox cycling has been known since at least the 1960s.

         148.   The surfactants with which the concentrates containing paraquat manufactured,

distributed, and sold by Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert typically were formulated were likely to increase paraquat’s toxicity to

humans by increasing its ability to stay in contact with or penetrate the skin, mucous membranes,

and other epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and

conducting airways, the lungs, and the gastrointestinal tract.

          G.    Paraquat and Parkinson’s disease

         149.   The same redox properties that make paraquat toxic to plant cells and other types

of animal cells make it toxic to dopaminergic neurons—paraquat is a strong oxidant that interferes

with the function of, damages, and ultimately kills dopaminergic neurons by creating oxidative


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stress through redox cycling.

          150.    Although PD is not known to occur naturally in any species other than humans, PD

research is often performed using “animal models,” in which scientists artificially produce in

laboratory animals conditions that show features of PD.

           151.   Paraquat is one of only a handful of toxins that scientists use to produce animal

models of PD.

          152.    In animal models of PD, hundreds of studies involving various routes of exposure

have found that paraquat creates oxidative stress that results in the degeneration and death of

dopaminergic neurons in the SNpc, other pathophysiology consistent with that seen in human PD,

and motor deficits and behavioral changes consistent with those commonly seen in human PD.

          153.    Hundreds of in vitro studies have found that paraquat creates oxidative stress that

results in the degeneration and death of dopaminergic neurons (and many other types of animal

cells).

          154.    Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between paraquat exposure and PD, including

multiple studies finding a two- to five-fold or greater increase in the risk of PD in populations with

occupational exposure to paraquat compared to populations without such exposure.

          155.    Defendants had knowledge of these studies and the relationship between paraquat

exposure and PD but actively and fraudulently concealed this information from Plaintiff and others.

            H.    Paraquat regulation

          156.    The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.

§136 et seq., which regulates the distribution, sale, and use of pesticides within the United States,

requires that pesticides be registered with the EPA prior to their distribution, sale, or use, except

as described by FIFRA. 7 U.S.C. 136a(a).


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       157.      As part of the pesticide registration process, the EPA requires, among other things,

a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse effects on the environment.

       158.      As a general rule, FIFRA requires registrants to perform health and safety testing

of pesticides.

       159.      FIFRA does not require the EPA to perform health and safety testing of pesticides

itself, and the EPA generally does not perform such testing.

       160.      The EPA registers (or re-registers) a pesticide if it believes, based largely on studies

and data submitted by the registrant, that:

              a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
              136a(c)(5)(A);

              b. its labeling and other material required to be submitted comply with the
              requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B);

              c. it will perform its intended function without unreasonable adverse effects
              on the
              environment, 7 U.S.C. § 136a(c)(5)(C); and

              d. when used in accordance with widespread and commonly recognized
              practice it will not generally cause unreasonable adverse effects on the
              environment, 7 U.S.C. § 136a(c)(5)(D).

       161.      FIFRA defines “unreasonable adverse effects on the environment’’ as “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

       162.      Under FIFRA, “[a]s long as no cancellation proceedings are in effect registration

of a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply

with the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).

       163.      However, FIFRA further provides that “[i]n no event shall registration of an article




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be construed as a defense for the commission of any offense under [FIFRA].” 7 U.S.C. § 136a(f)(2).

       164.     The distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

which provides in relevant part that “it shall be unlawful for any person in any State to distribute

or sell to any person . . . any pesticide which is . . . misbranded.” 7 U.S.C. § 136j(a)(1)(E).

       165.     A pesticide is misbranded under FIFRA if, among other things:

              a. its labeling bears any statement, design, or graphic representation relative
              thereto or to its ingredients that is false or misleading in any particular, 7
              U.S.C. § 136(q)(1)(A);

              b. the labeling accompanying it does not contain directions for use which are
              necessary for effecting the purpose for which the product is intended and if
              complied with, together with any requirements imposed under Section 136a(d)
              of the title, are adequate to protect health and the environment, 7 U.S.C. §
              136(q)(1)(F); or

              c. the label does not contain a warning or caution statement that may be
              necessary and if complied with, together with any requirements imposed under
              section 136a(d) of the title, is adequate to protect health and the environment,”
              7 U.S.C. § 136(q)(l)(G).

       166.     Plaintiff does not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA; accordingly,

any allegation in this complaint that a Defendant breached a duty to provide adequate directions

for the use of paraquat or warnings about paraquat, breached a duty to provide adequate packaging

for paraquat, or concealed, suppressed, or omitted to disclose any material fact about paraquat or

engaged in any unfair or deceptive practice regarding paraquat, that allegation is intended and

should be construed to be consistent with that alleged breach, concealment, suppression, or

omission, or unfair or deceptive practice, having rendered the paraquat “misbranded” under

FIFRA; however, Plaintiff brings claims and seek relief in this action only under state law, and do

not bring any claims or seek any relief in this action under FIFRA.

                          V. FRAUDULENT CONCEALMENT AND TOLLING


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           167.   Plaintiff did not discover this earlier because Plaintiff had no reason to suspect that

Plaintiff’s working with Paraquat could cause Plaintiff to suffer Parkinson’s disease.

           168.   Defendants took active steps to conceal this harmful side effect of Paraquat.

           169.   Indeed, in response to growing concerns regarding the safety of Paraquat, Syngenta

published a website at www.paraquat.com for the purpose of convincing the public that Paraquat

is safe.

           170.   Syngenta’s statements proclaiming the safety of Paraquat and disregarding its

dangers were designed to mislead the agricultural community and the public at large – including

Plaintiff.

           171.   Defendants knew or should have known that Paraquat was a highly toxic substance

that can cause severe neurological injuries and impairment.

           172.   However, despite this knowledge, Defendants continued to promote its product as

safe.

           173.   Defendants did not make this knowledge known to Plaintiff or the general public.

Indeed, Defendants failed to adequately warn and instruct Plaintiff of a possible association

between Paraquat use and Parkinson’s disease.

           174.   Even today, Syngenta disavows any connection between Paraquat and Parkinson’s

disease.

           175.   Defendants’ acts and omissions were a legal, proximate, and substantial factor in

causing Plaintiff to suffer severe and permanent physical injuries, pain, mental anguish, and

disability, as well as economic loss, and will continue to do so for the remainder of Plaintiff’s life.

           176.   All applicable statutes of limitations have been tolled by Defendants’ knowing and

active fraudulent concealment and denial of the facts alleged herein throughout the time period




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relevant to this action.

           VI. ALLEGATIONS COMMON TO SPECIFIC CAUSES OF ACTION

         A. Strict Product Liability – Design Defect

        177.     At all relevant times, Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert were engaged in the U.S. paraquat business.

       178.      At all relevant times, Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert were engaged in the business of designing, manufacturing,

distributing, and selling pesticides, and designed, manufactured, distributed, and sold paraquat

intending or expecting that it would be sold and used in California.

        179.     Plaintiff was exposed to paraquat sold and used in California that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in

California.

       180.      The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff

was exposed was in a defective condition that made it unreasonably dangerous, in that when used

in the intended and directed manner or a reasonably foreseeable manner:

               a. it was designed, manufactured, formulated, and packaged such that it was
               likely to be inhaled, ingested, and absorbed into the bodies of persons who
               used it, who were nearby while it was being used, or who entered fields or
               orchards where it had been sprayed or areas near where it had been sprayed;
               and

               b. when inhaled, ingested, or absorbed into the bodies of persons who used it,
               who were nearby while it was being used, or who entered fields or orchards
               where it had been sprayed or areas near where it had been sprayed, it was likely
               to cause or contribute to cause latent neurological damage that was both
               permanent and cumulative, and repeated exposures were likely to cause or
               contribute to cause clinically significant neurodegenerative disease, including
               PD, to develop long after exposure.


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       181.    This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed when it left the control of Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert and was placed

into the stream of commerce.

       182.    As a result of this defective condition, the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed either failed to perform in the manner

reasonably to be expected in light of its nature and intended function, or the magnitude of the

dangers outweighed its utility.

       183.    The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff

was exposed was used in the intended and directed manner or a reasonably foreseeable manner.

       B. Strict Product Liability – Failure to Warn

       184.    At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling pesticides, and designed, manufactured, distributed, and

sold paraquat intending or expecting that it would be sold and used in California.

       185.    Plaintiff was exposed to paraquat sold and used in California that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in

California.

       186.    When Defendants, Defendants’ corporate predecessors, and others with whom they



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acted in concert designed, manufactured, distributed, and sold the paraquat to which Plaintiff was

exposed, Defendants, Defendants’ corporate predecessors, and others with whom they acted in

concert knew or in the exercise of ordinary care should have known that when used in the intended

and directed manner or a reasonably foreseeable manner:

              a. it was designed, manufactured, formulated, and packaged such that it was
              likely to be inhaled, ingested, and absorbed into the bodies of persons who used
              it, who were nearby while it was being used, or who entered fields or orchards
              where it had been sprayed or areas near where it had been sprayed; and

              b. when inhaled, ingested, or absorbed into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards
              where it had been sprayed or areas near where it had been sprayed, it was likely
              to cause or contribute to cause latent neurological damage that was both
              permanent and cumulative, and repeated exposures were likely to cause or
              contribute to cause clinically significant neurodegenerative disease, including
              PD, to develop long after exposure.

       187.     The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff

was exposed was in a defective condition that made it unreasonably dangerous when it was used

in the intended and directed manner or a reasonably foreseeable manner, in that:

              a. it was not accompanied by directions for use that would have made it
              unlikely to be inhaled, ingested, and absorbed into the bodies of persons who
              used it, who were nearby while it was being used, or who entered fields or
              orchards where it had been sprayed or areas near where it had been sprayed;
              and

              b. it was not accompanied by a warning that when inhaled, ingested, or
              absorbed into the bodies of persons who used it, who were nearby while it was
              being used, or who entered fields or orchards where it had been sprayed or
              areas near where it had been sprayed, it was likely to cause or contribute to
              cause latent neurological damage that was both permanent and cumulative, and
              that repeated exposures were likely to cause or contribute to cause clinically
              significant neurodegenerative disease, including PD, to develop long after
              exposure.

       188.     This defective condition existed in the paraquat that Defendants, Defendants’




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corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed when it left the control of Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert and was placed

into the stream of commerce.

       189.    As a result of this defective condition, the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed either failed to perform in the manner

reasonably to be expected in light of its nature and intended function, or the magnitude of the

dangers outweighed its utility.

       190.    The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff

was exposed was used in the intended and directed manner or a reasonably foreseeable manner.

       C. Negligence

       191.    At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling pesticides, and designed, manufactured, distributed, and

sold paraquat intending or expecting that it would be sold and used in California.

       192.    Plaintiff was exposed to paraquat sold and used in California that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in

California.

       193.    The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff




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was exposed was used in the intended and directed manner or a reasonably foreseeable manner.

       194.    At all times relevant to this claim, in designing, manufacturing, packaging, labeling,

distributing, and selling paraquat, and in acting in concert with others who did so, Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert owed a duty to

exercise ordinary care for the health and safety of the persons whom it was reasonably foreseeable

could be exposed to it, including Plaintiff.

       195.    When Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, packaged, labeled, distributed, and sold the paraquat to

which Plaintiff was exposed, it was reasonably foreseeable, and Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert knew or in the exercise of

ordinary case should have known, that when paraquat was used in the intended and directed manner

or a reasonably foreseeable manner:

       a.       it was designed, manufactured, formulated, and packaged such that it was
       likely to be inhaled, ingested, and absorbed into the bodies of persons who used it,
       who were nearby while it was being used, or who entered fields or orchards where
       it had been sprayed or areas near where it had been sprayed; and

       b.      when inhaled, ingested, or absorbed into the bodies of persons who used it,
       who were nearby while it was being used, or who entered fields or orchards where
       it had been sprayed or areas near where it had been sprayed, it was likely to cause
       or contribute to cause latent neurological damage that was both permanent and
       cumulative, and repeated exposures were likely to cause or contribute to cause
       clinically significant neurodegenerative disease, including PD, to develop long after
       exposure.

       196.    In breach of the aforementioned duty to Plaintiff, Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert negligently:

       a.     failed to design, manufacture, formulate, and package paraquat to make it
       unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used
       it, who were nearby while it was being used, or who entered fields or orchards
       where it had been sprayed or areas near where it had been sprayed;




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    b.      designed, manufactured, and formulated paraquat such that when inhaled,
    ingested, or absorbed into the bodies of persons who used it, who were nearby while
    it was being used, or who entered fields or orchards where it had been sprayed or
    areas near where it had been sprayed, it was likely to cause or contribute to cause
    latent neurological damage that was both permanent and cumulative, and repeated
    exposures were likely to cause or contribute to cause clinically significant
    neurodegenerative disease, including PD, to develop long after exposure;

     c.     failed to perform adequate testing to determine the extent to which
     exposure to
     paraquat was likely to occur through inhalation, ingestion, and absorption into the
     bodies of persons who used it, who were nearby while it was being used, or who
     entered fields or orchards where it had been sprayed or areas near where it had been
     sprayed;

     d.      failed to perform adequate testing to determine the extent to which paraquat
     spray drift was likely to occur, including its propensity to drift, the distance it was
     likely to drift, and the extent to which paraquat spray droplets were likely to enter
     the bodies of persons spraying it or other persons nearby during or after spraying;

     e.     failed to perform adequate testing to determine the extent to which paraquat,
     when inhaled, ingested, or absorbed into the bodies of persons who used it, who
     were nearby while it was being used, or who entered fields or orchards where it had
     been sprayed or areas near where it had been sprayed, was likely to cause or
     contribute to cause latent neurological damage that was both permanent and
     cumulative, and the extent to which repeated exposures were likely to cause or
     contribute to cause clinically significant neurodegenerative disease, including PD,
     to develop long after exposure;

     f.      failed to perform adequate testing to determine the extent to which paraquat,
     when formulated or mixed with surfactants or other pesticides or used along
     with other pesticides, and inhaled, ingested, or absorbed into the bodies of persons
     who used it, who were nearby while it was being used, or who entered fields or
     orchards where it had been sprayed or areas near where it had been sprayed, was
     likely to cause or contribute to cause latent neurological damage that was both
     permanent and cumulative, and the extent to which repeated exposures were likely
     to cause or contribute to cause clinically significant neurodegenerative disease,
     including PD, to develop long after exposure;

     g.     failed to direct that paraquat be used in a manner that would have made it
     unlikely to have been inhaled, ingested, and absorbed into the bodies of persons
     who used it, who were nearby while it was being used, or who entered fields or
     orchards where it had been sprayed or areas near where it had been sprayed; and

     h.     failed to warn that when inhaled, ingested, or absorbed into the bodies of
     persons who used it, who were nearby while it was being used, or who entered fields


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        or orchards where it had been sprayed or areas near where it had been sprayed,
        paraquat was likely to cause or contribute to cause latent neurological damage that
        was both permanent and cumulative, and repeated exposures were likely to cause
        or contribute to cause clinically significant neurodegenerative disease, including
        PD, to develop long after exposure.

D. Breach of Express Warranties and Implied Warranty of Merchantability

        226.    At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling paraquat and other restricted-use pesticides and

themselves out as having knowledge or skill regarding paraquat and other restricted-use pesticides.

        227.    At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert designed, manufactured, distributed, and sold paraquat

intending or expecting that it would be sold and used in the state of Plaintiff’s residence.

        228.    Plaintiff was exposed to paraquat sold and used in the state of Plaintiff’s residence

that Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

designed, manufactured, distributed, and sold intending or expecting that it would be sold and used

in the state of Plaintiff’s residence.

        229.    At the time of each sale of paraquat to which Plaintiff was exposed, Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert made express

warranties and/or impliedly warranted that it was of merchantable quality, including that it was fit

for the ordinary purposes for which such goods were used.

        230.    Defendants, Defendants’ corporate predecessors, and others with whom they acted

in concert breached this warranty regarding each sale of paraquat to which Plaintiff was exposed,

in that it was not of merchantable quality because it was not fit for the ordinary purposes for which

such goods were used, and in particular:




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       a. it was designed, manufactured, formulated, and packaged such that it was likely
       to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
       were nearby while it was being used, or who entered fields or orchards where it had
       been sprayed or areas near where it had been sprayed; and

       b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
       were nearby while it was being used, or who entered fields or orchards where it had
       been sprayed or areas near where it had been sprayed, it was likely to cause or
       contribute to cause latent neurological damage that was both permanent and
       cumulative, and repeated exposures were likely to cause or contribute to cause
       clinically significant neurodegenerative disease, including PD, to develop long
       after exposure.

                                   COUNT 1
                          DEFENDANTS SCPLLC AND SAG
                   STRICT PRODUCT LIABILITY – DESIGN DEFECT
                              PERSONAL INJURIES

       231.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

       232.    As a direct and proximate result of the defective and unreasonably dangerous

condition of the paraquat manufactured, distributed, and sold by SCPLLC, SAG, their corporate

predecessors, and others with whom they acted in concert, Plaintiff developed PD; has suffered

severe and permanent physical pain, mental anguish, and disability, and will continue to do so for

the remainder of the Plaintiff’s life; has suffered the loss of a normal life and will continue to do

so for the remainder of the Plaintiff’s life; and has incurred reasonable expenses for necessary

medical treatment and will continue to do so for the remainder of the Plaintiff’s life.

                                  COUNT 2
                         DEFENDANTS SCPLLC AND SAG
                 STRICT PRODUCT LIABILITY – FAILURE TO WARN
                             PERSONAL INJURIES

       233.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

       234.    As a direct and proximate result of the lack of adequate directions for the use of

and warnings about the dangers of the paraquat manufactured, distributed and sold by SCPLLC,

SAG, their corporate predecessors, and others with whom they acted in concert, Plaintiff



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developed PD; has suffered severe and permanent physical pain, mental anguish, and disability,

and will continue to do so for the remainder of the Plaintiff’s life; has suffered the loss of a normal

life and will continue to do so for the remainder of the Plaintiff’s life; and has incurred reasonable

expenses for necessary medical treatment and will continue to do so for the remainder of the

Plaintiff’s life.

                                           COUNT 3
                                  DEFENDANTS SCPLLC AND SAG
                                         NEGLIGENCE
                                      PERSONAL INJURIES

        235.        Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

        236.        As a direct and proximate result of the negligence of SCPLLC, SAG, their corporate

predecessors, and others with whom they acted in concert, Plaintiff developed PD; has suffered

severe and permanent physical pain, mental anguish, and disability, and will continue to do so for

the remainder of the Plaintiff’s life; has suffered the loss of a normal life and will continue to do

so for the remainder of the Plaintiff’s life; and has incurred reasonable expenses for necessary

medical treatment and will continue to do so for the remainder of the Plaintiff’s life.

                                COUNT 4
                       DEFENDANTS SCPLLC AND SAG
         BREACH OF EXPRESS WARRANTIES AND IMPLIED WARRANTY OF
                           MERCHANTABILITY
                           PERSONAL INJURIES

        237.        Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

        238.        As a direct and proximate result of the breaches of express warranty and the implied

warranty of merchantability by SCPLLC, SAG, their corporate predecessors, and others with whom

they acted in concert, Plaintiff developed PD; has suffered severe and permanent physical pain,

mental anguish, and disability, and will continue to do so for the remainder of the Plaintiff’s life;

has suffered the loss of a normal life and will continue to do so for the remainder of the Plaintiff’s


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life; and has incurred reasonable expenses for necessary medical treatment and will continue to

do so for the remainder of the Plaintiff’s life.

                                     PRAYER FOR RELIEF

        239.    As a result of the foregoing, Plaintiff respectfully requests that this Court enter

judgment in the Plaintiff’s favor and against Defendants, jointly and severally, for compensatory

damages, costs, pre- and post-judgment interest, and attorneys’ fees, severally for punitive

damages, and for such further relief to which she may show herself to be entitled.




                                      DEMAND FOR JURY TRIAL

        240.    Pursuant to FED. R. CIV. P. 38(b), Plaintiff respectfully demands a jury trial on all

issues triable by jury.



        Dated: March 15, 2024                      Respectfully Submitted,

                                                /s/Ashley C. Keller
                                               Ashley C. Keller
                                               KELLER POSTMAN LLC
                                               150 N. Riverside Plaza, Ste. 4100
                                               Chicago, IL 60606
                                               (312)741-5220
                                               jj.snidow@kellerpostman.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of March, 2024, I electronically filed the foregoing
with the Clerk of the United States District Court for the Southern District of Illinois using the
Court’s CM//ECF Filing System, which shall send electronic notification to counsel of record.


                                                    /s/Ashley C. Keller




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